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                           UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TEXAS
                                BEAUMONT DIVISION

UNITED STATES OF AMERICA                        §
                                                §
v.                                              §   CASE NO. 1:19CR101
                                                §
LARRY EARNEST TILLERY                           §


          FINDINGS OF FACT AND RECOMMENDATION ON GUILTY PLEA
               BEFORE THE UNITED STATES MAGISTRATE JUDGE

        By order of the District Court, this matter was referred to the undersigned United States

Magistrate Judge for administration of a guilty plea and allocution under Rules 11 and 32 of the

Federal Rules of Criminal Procedure. Magistrate judges have the statutory authority to conduct a

felony guilty plea proceeding as an “additional duty” pursuant to 28 U.S.C. § 636(b)(3). United

States v. Bolivar-Munoz, 313 F.3d 253, 255 (5th Cir. 2002), cert. denied, 123 S. Ct. 1642 (2003).

On June 25, 2019, this cause came before the undersigned United States Magistrate Judge for

entry of a guilty plea by the defendant, Larry Earnest Tillery, on Counts One and Two of the

charging Amended Information filed in this cause.

        Count One of the Amended Information charges that from on or about July 14, 2014, in

the Eastern District of Texas, Larry Earnest Tillery, defendant, did knowingly engage and


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attempt to engage in a monetary transaction by through or to a financial institution, affecting

interstate or foreign commerce, in criminally derived property of a value greater than $10,000,

that is directing P.I., a bettor, to transfer $200,000 from P.I.’s account, held at Eagle Bank, to

Tillery’s Lamar Capital account, held at Community Bank in Beaumont, Texas, such property

having been derived from a specified unlawful activity, that is, 18 U.S.C. § 1955, Conducting,

Managing, Directing, or Owning an Illegal Gambling Business, in violation of 18 U.S.C. § 1957.

        Count Two of the Amended Information charges that from on or about September 2016

until on or about November 2016, Larry Earnest Tillery, defendant, had received wagers

subject to a 2% gross wagering excise tax in the sum of approximately $5,060,150. Upon these

taxable wagers, there was owing to the United States of American an excise tax of approximately

$101,203. Well knowing and believing the foregoing facts, the defendant, in the Eastern District

of Texas, did willfully attempt to evade and defeat the excised tax due and owing by him to the

United States of America from September 2016 through November 2016, by failing to report

said income on or before the due dates for monthly wagering tax filings as required by law, to

any proper officer of the Internal Revenue Service, by failing to pay the Internal Revenue

Service the excise tax, and by concealing and attempting to conceal from all proper officers of

the United States of America his true and correct wagering tax due, in violation of 26 U .S.C. §

7201.

        Defendant, Larry Earnest Tillery, entered a plea of guilty to Counts One and Two of the

Amended Information into the record at the hearing.

        After conducting the proceeding in the form and manner prescribed by Federal Rule of

Criminal Procedure 11 the Court finds:

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       a. That Defendant, after consultation with counsel of record, has knowingly, freely and

voluntarily consented to the administration of the guilty plea in this cause by a United States

Magistrate Judge in the Eastern District of Texas subject to a final approval and imposition of

sentence by the District Court.

       b. That Defendant and the Government have entered into a plea agreement and a plea

agreement addendum which were addressed in open court and entered into the record.

       c. That Defendant is fully competent and capable of entering an informed plea, that

Defendant is aware of the nature of the charges and the consequences of the plea, and that the

plea of guilty is a knowing, voluntary and freely made plea. Upon addressing the Defendant

personally in open court, the Court determines that Defendant’s plea is voluntary and did not

result from force, threats or promises. See FED. R. CRIM. P. 11(b)(2).

       d.   That Defendant’s knowing, voluntary and freely made plea is supported by an

independent factual basis establishing each of the essential elements of the offense and

Defendant realizes that his conduct falls within the definition of the crimes charged under 18

U.S.C. §1957 and 26 U.S.C. § 7201.

                                  STATEMENT OF REASONS

       As factual support for Defendant’s guilty plea, the Government presented a factual basis.

See Factual Basis and Stipulation. In support, the Government and Defendant stipulated that if

this case were to proceed to trial the Government would prove beyond a reasonable doubt,

through the sworn testimony of witnesses, including expert witnesses, as well as through

admissible exhibits, each and every essential element of the crime charged in Counts One and

Two of the Amended Information. The Government would also prove that the defendant is one

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and the same person charged in the Amended Information and that the events described in

Amended Information occurred in the Eastern District of Texas and elsewhere. The Court

incorporates the proffer of evidence described in detail in the factual basis and stipulation in

support of the guilty plea.

       Defendant, Larry Earnest Tillery, agreed with and stipulated to the evidence presented in

the factual basis.     Counsel for Defendant and the Government attested to Defendant’s

competency and capability to enter an informed plea of guilty. The Defendant agreed with the

evidence presented by the Government and personally testified that he was entering him guilty

plea knowingly, freely and voluntarily.

                              RECOMMENDED DISPOSITION

       IT IS THEREFORE the recommendation of the undersigned United States Magistrate

Judge that the District Court accept the guilty plea of Defendant which the undersigned

determines to be supported by an independent factual basis establishing each of the essential

elements of the offense charged in Counts One and Two of the charging Amended

Information on file in this criminal proceeding. The Court also recommends that the District

Court accept the plea agreement and plea agreement addendum pursuant to the Local Rules for

the United States District Court for the Eastern District of Texas and Federal Rule of Criminal

Procedure 11(c). Accordingly, it is further recommended that, Defendant, Larry Earnest Tillery,

be finally adjudged as guilty of the charged offense under Title 18, United States Code,

Section1957 and Title 26, United States Code, Section 7201.




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       Defendant is ordered to report to the United States Probation Department for the

preparation of a presentence report. At the plea hearing, the Court admonished the Defendant

that the District Court may reject the plea and that the District Court can decline to sentence

Defendant in accordance with the plea agreement and addendum, the federal sentencing

guidelines and/or the presentence report because the sentencing guidelines are advisory in

nature. The District Court may defer its decision to accept or reject the plea agreement and

addendum until there has been an opportunity to consider the presentence report. See FED. R.

CRIM. P. 11(c)(3). If the Court rejects the plea agreement, the Court will advise Defendant in

open court that it is not bound by the plea agreement and Defendant may have the opportunity to

withdraw the guilty plea, dependent upon the type of the plea agreement. See FED. R. CRIM. P.

11(c)(3)(B). If the plea agreement is rejected and Defendant still persists in the guilty plea, the

disposition of the case may be less favorable to Defendant than that contemplated by the plea

agreement or addendum. Defendant has the right to allocute before the District Court before

imposition of sentence.

                                         OBJECTIONS

       Objections must be: (1) specific, (2) in writing, and (3) served and filed within fourteen

(14) days after being served with a copy of this report. See 28 U.S.C. § 636(b)(1). A party’s

failure to object bars that party from: (1) entitlement to de novo review by a district judge of

proposed findings and recommendations, see Rodriguez v. Bowen, 857 F.2d 275, 276-77 (5th

Cir. 1988), and (2) appellate review, except on grounds of plain error of unobjected-to factual




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findings and legal conclusions accepted by the district court, see Douglass v. United Servs. Auto.

Ass’n., 79 F.3d 1415, 1417 (5th Cir. 1996) (en banc). The constitutional safeguards afforded by

Congress and the courts require that, when a party takes advantage of his right to object to a

magistrate’s findings or recommendation, a district judge must exercise its nondelegable

authority by considering the actual evidence and not merely by reviewing and blindly adopting

the magistrate’s report and recommendation. See Hernandez v. Estelle, 711 F.2d 619, 620 (5th

Cir. 1983); United States v. Elsoffer, 644 F.2d 357, 359 (5th Cir. 1981) (per curiam).


                   SIGNED this the 8th day of July, 2019.




                                                     ____________________________________
                                                     KEITH F. GIBLIN
                                                     UNITED STATES MAGISTRATE JUDGE




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